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                        IN THE UNITED STATES DISTRICT COURT
                                                                               7j9tiCT21 k1it3:t8
                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
                 V.                               )       CR 109-073
                                                  )
 LATRIA GRENISE SMITH                             )


                                            ORDER

         Before the Court are the various pre-trial and discovery motions filed by Defendant

 Latria Grenise Smith. The United States of America, by and through its attorney, Joseph D.

 Newman, Acting United States Attorney, and Nancy C. Greenwood, Assistant United States

 Attorney, has filed a combined response to these motions.

                            GENERAL DISCOVERY MOTION

  1.     Discovery:

         As to Defendant's general discovery requests, the government responds that it has

 provided Defendant "open file" discovery in this case. The government has provided

 approximately 2,535 pages of discovery material, and 11 DVDs containing recorded phone

 calls and summaries of those calls; additional recordings were made available for review at

 the office of the Federal Bureau of Investigation ("FBI"). The discovery materials include,

 inter alia, the investigation reports of the FBI and the United States Attorney's Office (attorney

 and agent work product excepted, and personal identification information redacted). All

 known statements by Defendant have also been produced, as has her criminal record. The

 results of any scientific tests have been provided in the discovery materials, but if any further
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 tests are conducted, the results will be provided upon their receipt. Accordingly, the Court

 finds that the position of the United States Attorney in permitting full disclosure of the

 government's file pertaining to this case renders Defendant's discovery requests MOOT.

 (Doc. nos. 137, 138).

         However, to ensure that Defendant's requests are in fact covered by the government's

 disclosures, the Court hereby requires counsel for Defendant to submit not later than five (5)

 days from the date of this Order a written statement describing any existing disputes or

 unresolved items that have not been specifically addressed elsewhere in this Order. The

 statement should detail the specific items sought and should include a memorandum of law.

        Defense counsel is reminded that dissemination of discovery material beyond that

 necessary to the preparation of the defense is prohibited by Loc. Crim. R. 16.1.

        Any discovery material turned over to Defendant shall be maintained by Defendant

 and not further disseminated. Failure to comply with the terms of this Order may result in

 contemot proceeding s. Further addressing Defendant's specific requests for disclosure:

  2.    Statements of Defendant:

        In light of the government's liberal discovery policy and the government's statement

 that all known statements by Defendant have been produced (doc, no. 196, p. 2), this request

 is MOOT.

 3.      Tangible and Seized Items:

        The government's liberal discoverypolicy should eliminate the possibility of surprise

 at trial. Therefore, this request is MOOT.




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  4.     Witnesses. Co-Conspirators and Knowledgeable Persons:

         Defendant seeks knowledge of the existence and identification of potential

 government witnesses that testified before any court, grand jury or other tribunal body.

 Defendant requests the names, addresses, telephone numbers, or any criminal records of

 those persons expected to testify or who may have some knowledge of the facts of this case,

 but will not testifj. Fed. R. Crim. P. 16(a)(1)(E) provides:

             Upon a defendant's request, the government must permit the defendant
         to inspect and to copy or photograph books, papers, documents, data,
         photographs, tangible objects, buildings or places, or copies or portions of
         any of these items, if the item is within the government's possession, custody,
         or control and:

               (i) the item is material to preparing the defense;
              (ii) the government intends to use the item in its case-in-chief at trial; or
             (iii) the item was obtained from or belongs to the defendant.

 Under this Rule, a defendant is entitled to discover certain materials if they are either (1)

 material to the preparation of the defense, or (2) intended by the government to be used as

 evidence, or (3) were obtained from the defendant. Fed. R. Crim. P. 1 6(a)(1 )(E). However,

 this Rule is qualified and limited by Rule 16(a)(2), which provides:

            Except as Rule 16(a)(1) provides otherwise, this rule does not authorize
         the discovery or inspection of reports, memoranda, or other internal
         government documents made by an attorney for the government or other
         government agent in connection with investigating or prosecuting the case.
         Nor does this rule authorize the discovery or inspection of statements made
         byprospective government witnesses except as provided in 18 U.S.C. § 3500.

 It can be seen that Rule 16(a)(2) prevents the "discovery or inspection of statements made

 by prospective government witnesses except as provided in 18 U.S.C. § 3500." Even if the

 statements satisfy one of the requirements of Rule I 6(a)( 1 )(E), their discovery by a defendant
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 is still barred by Rule 16(a)(2) unless those witnesses will testify at trial. In that case, the

 statements would be discoverable pursuant to the Jencks Act. See general1v United States

 v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006) (reviewing requirements for disclosure of

 statements of witnesses testifying at trial and explicitly noting that "Jencks Act does not

 apply to the statements of non-testifying witnesses"). The statements of persons the

 government does not intend to call as witnesses at trial amount, therefore, to nothing more

 than internal memoranda, discovery of which is not permitted pursuant to the explicit

 mandate of Rule 16(a)(2). If the statements are not otherwise discoverable pursuant to the

 rule in Brady v. Maryland, 373 U.S. 83 (1963) and its progeny and no showing of materiality

 is made, they are not discoverable at all.

  5.     Informants:

         Defendant seeks detailed disclosures regarding informants, "special employees," and

 undercover investigators. Defendant also seeks information such as "any investigative

 agencies' departmental rules or regulations to which any informant or special employee was

 hired, employed or requested to participate in the investigation of this case." Further,

 Defendant seeks all statements of informants as well as the identity of persons associated

 with the prosecution who spoke to the informants. Where the informant was not an active

 participant in the criminal activity, disclosure is not required. Roviaro v. United States, 353

 U.S. 53, 61-63 (1957); United States v. Gutierrez, 931 F.2d 1482, 1490-91 (11th Cir. 1991);

 United States v. Parikh, 858 F.2d 688, 696 (11th Cir. 1988) ("factor of primary importance

 in striking balance (enunciated in Roviaro) is the degree of participation exercised by the

 informant"); United States v. Moreno, 588 F.2d 490, 494 (5th Cir. 1979) (requiring "more


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 than speculation about the possible usefulness of an informant's testimony" and explaining

 that mere "possibility of obtaining relevant testimony is too remote to require disclosure [of

 informant]"). The government's very liberal discovery in this case should enable Defendant

 to adequately investigate the government's case. Otherwise, the government must disclose

 the identity of any informant who played an active role in the criminal activity charged

 against Defendant at least fourteen (14) days prior to trial.' Such disclosure will ensure an

 adequate opportunity for Defendant to prepare for trial and obviate any need for an in camera

 showing by the government pursuant to Fed. R. Crim. P. 16(d). See United States v. Kerris,

 748 F.2d 610, 614(11th Cir. 1984) (per curiam) (re-iterating circuit precedent that in camera

 hearing not automatically required when informant identity requested).

  6.    Scientific Tests. Experiments and Results:

        Defendant seeks discovery of the results of any scientific tests and experiments made

 in connection with this case. Defendant additionally seeks information greatly exceeding that

 mandated by Fed. R. Crim. P. 16. The government has acknowledged its obligation to

 provide all Rule 16 materials, and this request is MOOT.

  7.    Experts:

        In light of the government's liberal discovery policy, this request is MOOT.

  8.    Tangible Objects Accelerated Jencks Material Notes. Destroyed or Preserved:

        The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant



         1 1f defense counsel determines that he needs to apply for subpoenas based on
 information provided about an informant, this 14-day time period should allow counsel
 sufficient time to comply with this Court's instructions (doe. no. 19, p. 3) to apply for
 subpoenas no later than ten (10) days prior to trial.
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 with statements of witnesses immediately following their testimony in court. There is no

 authority for the Court to grant an early release or disclosure of that material. United States

 v. Schier, 438 F,3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,

 1251-52 (11th Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir. 1980).

 However, early disclosure of Jencks Act materials will avoid unnecessary delay and

 inconvenience to the Court and jury. The government has not opposed this motion in its

 response.2 The government is, therefore, INSTRUCTED to provide Jencks Act materials

 seven (7) days prior to trial. Defendant's request for production of internal governmental

 memoranda and agents' notes is DENIED. Defendant has made no particularized showing

 of need regarding these matters.

 9.     Giglio Information:

        A separate motion was filed seeking this same discovery, and therefore, this request

 is addressed below.

 10.    Law Enforcement Agents' Identities:

        In light of the government's liberal discovery policy, this request is MOOT.

 11.    Polygraph Examinations:

        In light of the government's liberal discovery policy and the disclosure that no

 polygraph examinations were conducted in this case (doc. no. 196, p. 3), this request is

 MOOT.




       'Indeed, the government states that it is willing to provide Jencks Act materials,
including grand jury transcripts, one week prior to trial. (Doe. no. 196, p. 2).

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 12.    Psychiatric or Psychological Examinations:

        In light of the government's liberal discovery policy, this request is MOOT.

 13.    Favorable Evidence under Brady and Giglio:

        A separate motion was filed seeking this same discovery, and therefore, this request

 is addressed below.

               MOTION FOR LIST OF GOVERNMENT WITNESSES

        Defendant filed a motion requesting that the government be ordered to furnish a

complete list of witnesses. In non-capital cases such as this case, a defendant is generally not

entitled to a list of government witnesses. United States v. Massell, 823 F.2d 1503, 1509

(11th Cir. 1987); United States v. Johnson, 713 F.2d 654,659(11th Cir. 1983); United States

v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981). However, as a practical matter, it would

appear that Defendant will be receiving much of this information because of the

government's liberal discovery policy and because of the government's obligation to disclose

material pursuant to the Jencks Act and/or Brady v. Mar yland, 373 U.S. 83 (1963). This, in

essence, moots Defendant's request. While this Court retains the right to exercise its

discretion in permitting Defendant to have access to a list of government witnesses, at most

the government would be required to comply with this request not more than ten (10) days

prior to trial. Therefore, this motion is DENIED. (Doc. no. 139).

              MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        This motion is GRANTED (doe. no. 141), subject to the following terms and

conditions:




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         (a) Unless otherwise directed by the presiding District Judge, counsel must submit

 to the Court, not later than seven (7) days prior to trial, a list of questions which they desire

 to ask prospective jurors;

         b) Counsel shall take notes and avoid asking duplicative questions, unless additional

 clarification from a prospective juror is needed; and

         (c) Counsel must address the array in the same order which the Court will later

 formulate for use at trial during the cross-examination of the government's witnesses.

             MOTION FOR NOTICE BY THE GOVERNMENT OF THE
            INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
              PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

         Defendant filed a motion seeking the government to give notice of its intention to use

 at trial evidence of "other crimes, wrongs or acts" under Fed. R. Evid. 404(b). The Local

 Rules provide:

                 As soon as practicable after the defendant's arraignment, and in any
         event no more than twenty (20) days after the arraignment (unless the Court
         directs otherwise), the United States Attorney shall serve upon counsel for the
         defendant a written notice of any direct or circumstantial evidence of other
         crimes, wrongs, or acts of the defendant, or specific instances of conduct or
         criminal convictions of the defendant, which the Government intends to offer
         into evidence through either Fed, R. Evid. 404(b) or under the theory that the
         evidence is so inextricably intertwined with defendant's charged offense that
         it should be admissible.

 Loc. Crim. R. 16.2; see also Loc. Crim. R. 12.3.

         In its Arraignment Order dated June 17, 2009 (dcc. no. 19), the Court directed that if

 the government intends to use 404(b) evidence, it must make the required disclosures in

 accordance with the Local Rules. Accordingly, this motion requesting 404(b) disclosures,

 which the government has already been directed to make, is MOOT. (Doe. no. 142).


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                        MOTION FOR DISCLOSURE OF
                  EXCULPATORY AND IMPEACHING MATERIAL

        Defendant filed a motion seeking the disclosure of exculpatory and impeaching

 information in accordance with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and

 Giglio v. United States, 405 U.S. 150 (1972). (Doe. no. 143). To some extent, Defendant's

 requests exceed the scope of Brady. Brady material includes information that is favorable

 to a defendant and material to the issues of guilt or punishment. Brady, 373 U.S. at 87;

 United States v. Agurs, 427 U.S. 97 (1976). This motion is GRANTED to the extent that

 the government must provide all Brady material to Defendant within five (5) days of the date

 it is received or its existence becomes known. With regard to impeaching information, the

 government must disclose this information seven (7) days prior to trial.

       MOTION FOR PRE-TRIAL JAMES HEARING and FOR PRE-TRIAL
            DISCLOSURE OF CO-CONSPIRATOR STATEMENTS

        Defendant has moved for a pre-trial hearing to determine the admissibility of out-of-

 court statements by alleged co-conspirators. Defendant also seeks disclosure of co-

 conspirator and co-defendant statements. United States v. James, 590 F.2d 575 (5th Cir.

 1978) (en banc), requires that, before the case is submitted to the jury, the Court must

 determine whether the prosecution 'has shown by a preponderance of the evidence

 independent of the statement itself (1) that a conspiracy existed, (2) that the co-conspirator

 and defendant against whom the co-conspirator's statement is offered were members of the

 conspiracy, and (3) that the statement was made during the course of and in furtherance of

 the conspiracy." Id. at 582; United States v. Maglut 418 F.3d 1166, 1177-78 (11th Cir.

 2005) (same); see also Fed. R. Evid. 801(d)(2)(E).
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        A pre-trial determination under James is not required. United States v. Van

 Hemeiryck, 945 F.2d 1493, 1497-98 (11th Cir. 1991); United States v. Dyer, 752 F.2d 591,

 595 (11th Cir. 1985). The required finding can be made at the close of the government's

 case-in-chief. United States v. Sanche z       F.2d 1501, 1507(11th Cir. 1984). Further, the

 Court may examine the statements sought to be admitted when making the factual

 determination. Bourlaily v. United States, 483 U.S. 171, 180-81 (1987); United States v.

 Miles, 290 F.3d 1341, 1351 (11th Cir. 2002) (per curiam).

        As the need for a James hearing is lessened in light of Bourjjy, and in the interest

 ofj udicial economy, this determination will be made at trial. Therefore, the motion for a pre-

 trial James hearing is DENIED. (Doc. no. 146-1).

        As to the request for disclosure of co-defendant and co-conspirator statements, the

 Court recognizes that the language of Fed. R. Crim. P. 16(a)(1)(A) requires disclosure of

 statements "made by the defendant(s)," but the Court does not agree with the argument that

 this provision mandates disclosure of co-conspirator statements, since those statements are

 imputed to the respective Defendants in this case under Fed. R. Evid. 801(d)(2)(E).

 Specifically, the Eleventh Circuit has ruled that these independent provisions cannot be read

 in pari materia. United States v. Orr, 825 F.2d 1537, 1541 (11th Cir. 1987) (en bane)

 (adopting the reasoning of United States v. Roberts, 811 F.2d 257, 258 (4th Cit. 1987) (en

 bane)). The policy underlying nondisclosure of co-conspirator statements rests firmly on the

 belief that disclosure would unnecessarily promote both the intimidation of witnesses and

 attempts to suborn perjury. Roberts, 811 F.2d at 259 (citing United States v. Jackson, 757

 F.2d 1486, 1493 (4th Cir. 1985) (Wilkinson, J., concurring)). The Jackson concurrence


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 correctly noted that nothing in Fed. R. Crim. P. 1 6(a)(1 )(A), can be read to require disclosure

 of co-conspirator statements and that decisions relied on by the defendant justifying

 discovery of such statements as "vicarious admissions" of defendants "make one person out

 of two and beg the question of undue pressure which mayresult." Jackson, 757 F.2d at 1493.

 Rule 16(a)(1)(A) requires the government to disclose "the substance of any relevant oral

 statement made by the defendant." Any discovery of co-conspirator statements must be

 pursuant to the provisions of the Jencks Act, 18 U.S.C. § 3500, or not at all. Roberts, 811

 F.2d at 259. Therefore, Defendant's request for disclosure of co-conspirator statements is

 DENIED. (Doe. no, 146-2).

                       MOTION TO PRESERVE RECORD AS TO
                       RACE OF EACH VENTREMAN AT TRIAL

         The Equal Protection clause forbids prosecutors from challenging potential jurors

 solely on account of their race. Batson v. Kentucky, 476 U.S. 79, 89 (1986). As this

 information would be necessary for an appeal under Batson, the motion is GRANTED.

 (Doe. no. 147).

                          MOTION TO RESERVE THE EIGHT
                           TO FILE ADDITIONAL MOTIONS

         This motion filed by Defendant is DENIED. (Doc. no. 148). The Court ordered that

 all motions in this case were to be filed by August 10, 2009, and that untimely motions

 would not be considered absent a showing of good cause for failure to file within the time

 set by the Court.' (Doe. nos. 19, 56). This Order, however, does not prohibit Defendant


        3A motion may not be filed outside the deadlines set by the Court except by leave of
 Court upon a showing of cause. United States v. Smith, 918 F.2d 1501, 1509 (11th Cir.
 1990); Fed, R. Crim. P. 12(c), (e).

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 from making her showing of cause contemporaneously with the filing of out-of-time

 motions.

      MOTION FOR RECIPROCAL DISCOVERY and NOTICE OF EXPERT
                          TESTIMONY

        These motions filed by the government seek reciprocal discovery from Defendant

 under Rule 16(b) of the Federal Rules of Criminal Procedure, including a written summary

 of any evidence Defendant intends to offer under Fed. R. Evid. 702, 703, or 705. In light of

 the government's willingness to provide "open file" discovery, it is entitled to this

 information. See Fed. R. Crim. P. 16(b)(1). Accordingly, these motions are GRANTED.

 (Doe. nos. 197-1,197-2).

        SO ORDERED this 0 day of October, 2009, at Augusta, Georgia.



                                              W. LEON BAF1ELD    /)
                                              UNITED STATES MAG1STTE JUDGE




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